
USCA1 Opinion

	




          February 18, 1993                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 92-1827                              UNITED STATES OF AMERICA,                                 Plaintiff, Appellee,                                          v.                           ONE 1987 BMW 325, ETC., ET AL.,                                     Defendants.                                   ________________                                    JOHN TENAGLIA,                                 Claimant, Appellant.                              _________________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF NEW HAMPSHIRE                     [Hon. Norman H. Stahl, U.S. District Judge]                                            ___________________                              _________________________                                        Before                                Selya, Circuit Judge,                                       _____________                            Coffin, Senior Circuit Judge,                                    ____________________                               and Cyr, Circuit Judge.                                        _____________               Thomas Kerner for appellant.               _____________               Michael J. Gunnison, Assistant United States Attorney,  with               ___________________          whom Jeffrey R. Howard, United States Attorney, was on brief, for               _________________          appellee.                              _________________________                                  February 18, 1993                              _________________________                    SELYA,  Circuit  Judge.   This  appeal  arrives at  our                    SELYA,  Circuit  Judge.                            ______________          doorstep  after  meandering  along   the  byways  that  link  the          Supplemental Rules  for Certain Admiralty and  Maritime Claims to          the  Federal Rules of Civil  Procedure.  We  conclude that, given          the  way in  which  the  Admiralty  Rules  and  the  Civil  Rules          intersect,  the district court's order striking appellant's claim          for    failure   to   answer   interrogatories   was   premature.          Consequently,  we reverse  the  order, vacate  the judgment,  and          remand for further proceedings.                                         I.                                           I.                                           __                               Historical Prolegomenon                               Historical Prolegomenon                               _______________________                    On March 27, 1991,  police officer Sean Billert arrived          at  the  scene  of  a  two-car  accident  in  North  Conway,  New          Hampshire.  One of the vehicles involved was  a 1987 BMW operated          by  claimant-appellant John Tenaglia.  In the course of a routine          interview, Officer Billert caught the scent of burnt marijuana on          Tenaglia's  clothing.   A search  of the  BMW revealed  traces of          marijuana  and assorted drug  paraphernalia.  Authorities removed          the  car to  a  police compound  and,  during a  further  search,          discovered $14,667 in used  bills plus the key to  a safe-deposit          box.  When opened, the box yielded an additional $16,000 in cash.                    The  State   undertook  to  prosecute  Tenaglia   on  a          narcotics charge.  Meanwhile, the federal government notified him          that it planned to commandeer the cash and car.  Toward that end,          the government  filed a forfeiture complaint  in federal district          court on July 3, 1991.  See 21 U.S.C.   881(a)(4), (a)(6) (1988).                                  ___                                          2          The  complaint,  festooned  with   ninety-nine  interrogatories,1          alleged  that  the  cash  represented  the  avails  of  narcotics          trafficking;  that  the  vehicle  had been  purchased  with  drug          proceeds;  and, moreover, that it had been used in furtherance of          a drug-related crime.                    Tenaglia  received the forfeiture suit papers on August          9,  1991.   He  promptly  filed  a claim  and  an  answer to  the          complaint but  boycotted the  interrogatories.  On  September 18,          the   government  moved   to   strike  the   claim  because   the          interrogatories  remained  unanswered.    Tenaglia  responded  by          requesting a stay of proceedings pending the outcome of the state          criminal prosecution, or in the alternative, an order sealing the          record  in the forfeiture action so that any admissions could not          be used against him.   Tenaglia subsequently answered two  of the          interrogatories,  contending that  those  answers, without  more,          sufficed to clarify his standing.                    On  May  12,  1992,  the  district  court  granted  the          government's longstanding motion to strike.  The court ruled that          Tenaglia,  by  failing to  answer  the  interrogatories, had  not          perfected the right to prosecute his claim.  The BMW and the cash                                        ____________________               1The interrogatories were served with the complaint pursuant          to Adm. Rule C(6), which provides in pertinent part:                    The claimant of property  that is the subject                    of an action in rem shall file a claim within                    10 days after process has been executed . . .                    .   At  the  time of  answering the  claimant                    shall    also    serve    answers   to    any                    interrogatories  served  with the  complaint.                    In actions  in rem interrogatories  may be so                    served without leave of court.                                          3          were declared forfeit.  This appeal ensued.                    On appeal,  Tenaglia argues  that the lower  court, for          all intents and purposes, dismissed his claim in contravention of          Fed. R. Civ. P. 37 (which, as Tenaglia reads it,  does not permit          dismissal  as   an  initial   sanction  for  failure   to  answer          interrogatories).2    The   government  counterattacks  on  three          fronts.    First,  it  asserts  that, because  Tenaglia  did  not          adequately direct the district court's attention to Civil Rule 37          during  the course of the proceedings below, he is precluded from          relying on the  rule at  this juncture.   Second, the  government          asserts  that  Civil   Rule  37  is  inapposite   in  respect  to          interrogatories propounded pursuant to Adm. R. C(6).   Third, the          government  asserts that,  even  considering Civil  Rule 37,  the          district court's order is supportable.   We limn the  appropriate          standard of  review and  thereafter address Tenaglia's  appeal by          tracking the government's assertions.                                        II.                                          II.                                          ___                                        ____________________               2The district court, technically speaking, struck Tenaglia's          claim, as opposed to dismissing it.  We think, however, that this          is a distinction  bereft of any meaningful  difference.  Although          in many cases the  upshot of dismissal is more  grievous than the          upshot of  an order  to strike, dismissal  and the striking  of a          claim are quintessentially synonymous in the  forfeiture context.          This is so  because either order  results in  the failure of  the          entire claim.   See United  States v. Contents  of Accounts  Nos.                          ___ ______________    ___________________________          3034504504 and 144-07143, Etc., 971 F.2d 974, 978 &amp; n.3 (3d  Cir.          ______________________________          1992), petition for cert. filed  (Jan. 6, 1993).  Thus,  we treat                 ________________________          the district court's order  to strike Tenaglia's entire claim  as          the  functional  equivalent  of  a dismissal  order.    We  note,          moreover,  that under Fed. R.  Civ. P. 37,  neither dismissal nor          striking of  a pleading is a permissible  sanction for a delay in          making  discovery unless  the  offending party  first violates  a          preexisting court order.                                          4                                  Standard of Review                                  Standard of Review                                  __________________                    It  is   within  the  trial  court's   fief  to  choose          appropriate  sanctions   when  a  party  does   not  comply  with          procedural  rules.   See Media  Duplication Servs.,  Ltd.  v. HDG                               ___ ________________________________     ___          Software,   Inc.,   928  F.2d   1228,   1238   (1st  Cir.   1991)          ________________          ("Considerable discretion is vested in a district judge to decide          whether to impose  sanctions and what  form they should  take.");          Jensen v. Frank,  912 F.2d  517, 524 (1st  Cir. 1990)  (similar);          ______    _____          Damiani v. Rhode  Island Hosp., 704  F.2d 12, 15 (1st  Cir. 1983)          _______    ___________________          (similar).    An  appellate  court  must  step  softly  in   such          precincts, taking pains not simply to substitute its judgment for          that  of the  district  court  and  intervening  only  if  it  is          persuaded   that  the  district  court  overspilled  fairly  wide          discretionary bounds.  See National Hockey League v. Metropolitan                                 ___ ______________________    ____________          Hockey Club,  Inc., 427 U.S. 639, 642 (1976); Velazquez-Rivera v.          __________________                            ________________          Sea-Land  Serv.,  Inc.,  920 F.2d  1072,  1075  (1st Cir.  1990);          ______________________          Fashion House, Inc. v. K Mart Corp., 892 F.2d  1076, 1081-82 (1st          ___________________    ____________          Cir. 1989).   All in all, a party protesting  an order in respect          to sanctions bears a formidable burden in attempting to  convince          the court of appeals that the lower court erred.                      Deference,  however,  is  not   to  be  confused   with          automatic  acquiescence.    We  will not  rubber  stamp  sanction          decisions entered in the district court.   Media Duplication, 928                                                     _________________          F.2d at 1238.   Rather, in examining the imposition  of sanctions          for  possible   abuses  of   discretion,  we  focus   our  review          particularly on whether a "material factor deserving  significant                                          5          weight [was]  ignored," whether "an improper  factor [was] relied          upon," or whether "when all proper and no improper factors [were]          assessed  . . .  the court [made]  a serious  mistake in weighing          them."  Independent Oil &amp; Chem. Workers, Inc. v. Proctor &amp; Gamble                  _____________________________________    ________________          Mfg. Co., 864 F.2d 927, 929 (1st Cir. 1988) (collecting cases).          ________                                         III.                                         III.                                         ____                                       Analysis                                       Analysis                                       ________                                          A.                                          A.                                          __                                  Procedural Default                                  Procedural Default                                  __________________                    As  a  threshold matter,  the  government  asserts that          Tenaglia waived any reliance on Civil Rule 37 by failing to bring          the rule to the attention of the district court.  After carefully          examining  the record,  we  conclude that,  on balance,  Tenaglia          presented  the issue  in a  manner barely  sufficient to  put the          theory in issue and thereby to avoid a procedural default.                    To  be  sure, the  question  of  waiver is  borderline.          Tenaglia did  not confront  the district court  with chapter  and          verse  anent the Rule 37 argument.  Nonetheless, he did challenge          the  court's  use  of its  discretion  to  dismiss  in the  first          instance without prior adjudication  of his generic objections to          the  wave of interrogatories; and on  several occasions, he asked          the  court to  consider the  objections, meanwhile  enlarging the          time for responding to the interrogatories, before dismissing the          claim.  Tenaglia buttressed  this point by citing cases  in which          orders  compelling  discovery  preceded  dismissal.   See,  e.g.,                                                                ___   ____          United States v.  One 1971 Corvette Stingray, Etc.,  No. 89-5398,          _____________     ________________________________                                          6          1989 U.S. Dist. LEXIS 15079 (E.D. Pa. Dec. 14, 1989).                    In fine,  while Tenaglia's  proffer was  by no  means a          paradigm  of lucidity, neither did it  require the district court          to  sift an ocean of  prose for a  seashell's worth of reasoning.          In  some cases, perhaps,  these meager  efforts would  not serve.          But, in  assessing the  adequacy of  Tenaglia's  proffer, we  are          keenly aware that "dismissal  with prejudice is a  harsh sanction          which  runs counter to our strong policy favoring the disposition          of cases on the merits."  Figueroa Ruiz v. Alegria, 896 F.2d 645,                                    _____________    _______          647  (1st  Cir.  1990)  (internal quotation  marks  and  citation          omitted); accord Marx v. Kelly, Hart &amp; Hallman, P.C., 929 F.2d 8,                    ______ ____    ___________________________          10 (1st Cir.  1991); Velazquez-Rivera, 920 F.2d at  1075.  We are                               ________________          mindful,  too, that  forfeiture is  a harsh  medium and  that the          disposition-on-the-merits  policy   is,  therefore,  particularly          potent here.   See United  States v. 384-390  West Broadway,  964                         ___ ______________    ______________________          F.2d 1244,  1248 (1st  Cir. 1992) (recognizing  that "forfeitures          are strong medicine,  disfavored in  our jurisprudence");  United                                                                     ______          States v. $38,000  in U.S.  Currency, 816 F.2d  1538, 1547  (11th          ______    __________________________          Cir. 1987) (collecting cases); cf. United States v. 1 Street A-1,                                         ___ _____________    ____________          885  F.2d  994,  1001  (1st   Cir.  1989)  (acknowledging,  in  a          forfeiture  context,   that  "to  the  greatest  extent  possible          controversies are [to  be] decided on  the merits" and  therefore          excusing potential procedural default).   And, finally, given the          surge in attempted forfeitures,  the importance of the issue  for          future  cases  is itself  a factor  cutting  sharply in  favor of          resolving it  here and now.  Cf. United States v. La Guardia, 902                                       ___ _____________    __________                                          7          F.2d 1010, 1013 (1st Cir. 1990) (excusing procedural default  and          considering purely legal  issue not raised below  where the issue          was  significant and  likely  to recur,  such that  addressing it          would  advance the administration of  justice);  United States v.                                                           _____________          Krynicki,  689   F.2d  289,   292  (1st  Cir.   1982)  (similar).          ________          Considering  the  nature  and  circumstances  of  this  case,  we          conclude  that  the  argument   regarding  the  necessity  of  an          intervening  court order  before  dismissal for  failure to  make          discovery was sufficiently raised below.                                            B.                                          B.                                          __                     The Interplay Between the Two Sets of Rules                     The Interplay Between the Two Sets of Rules                     ___________________________________________                    In  1966,  Congress  abolished  the  former  Rules   of          Practice  in Admiralty and Maritime  Cases and replaced them with          the Supplemental Rules for Certain Admiralty and Maritime Claims.          The  scope of  the  new rules  belied  their title  because  they          extended beyond maritime actions  to actions in rem, see  Adm. R.                                                               ___          A(2), C, and, in  particular, to forfeiture actions.   See, e.g.,                                                                 ___  ____          21 U.S.C.    881(b).   In minting the  Admiralty Rules,  however,          Congress did not  completely remove in  rem proceedings from  the          purview of the Civil Rules.3  Rather, Congress decreed that:                         The general Rules of Civil Procedure for                    the  United States  District Courts  are also                    applicable  to [in rem] proceedings except to                    the  extent that  they are  inconsistent with                                        ____________________               3The Court  made it  very clear  that  the former  admiralty          rules were not  meant to be comprehensive  codes regulating every          aspect and detail  of federal  court practice in  cases to  which          they applied.  See Miner v. Atlass, 363 U.S. 641, 648 (1960).  We                         ___ _____    ______          are   confident  that   the  new   admiralty  rules   share  this          characteristic.                                          8                    these Supplemental Rules.          Adm. R. A.                    Pursuant to this direction, we have consistently looked          to the Civil  Rules to fill  gaps in the  Admiralty Rules.   See,                                                                       ___          e.g.,  384-390 West Broadway,  964 F.2d  at 1247  n.4 (explaining          ____   _____________________          that "[r]esort . .  . may be  had to the  Federal Rules of  Civil          Procedure for  interstitial matters or where  the Admiralty Rules          are silent .  . .");  United States v. 116 Emerson St.,  942 F.2d                                _____________    _______________          74, 77  (1st Cir. 1991)  (similar); In re  Northern Transatlantic                                              _____________________________          Carriers Corp., 423 F.2d  139, 140 (1st Cir. 1970)  (holding that          ______________          "[a]ll civil rules, except where impertinent," apply in admiralty          cases); see also  1 Street A-1, 885 F.2d at  998 &amp; n.13 (applying                  ___ ____  ____________          Fed. R. Civ. P.  4 in forfeiture suit); United States v. $149,345                                                  _____________    ________          U.S.  Currency,  747  F.2d  1278,  1280,  1281  (9th  Cir.  1984)          ______________          (applying  Fed. R.  Civ. P.  37 and 60  in forfeiture  suit); cf.                                                                        ___          $38,000 in U.S. Currency,  816 F.2d at 1547 n.20  (noting general          ________________________          applicability of Civil Rules  to forfeiture actions but rejecting          specific application  of Fed.  R. Civ.  P. 12(f)  as inconsistent          with  Adm.  R.  E(2));  United  States  v.  $39,000  in  Canadian                                  ______________      _____________________          Currency, 801 F.2d 1210, 1216 (10th Cir. 1986) (similar).          ________                     Admiralty Rule C provides  an abecedarian roadmap  for          the  travel of forfeiture proceedings.  An action is initiated by          the filing of a sworn complaint.  Adm. R. C(2).  Persons claiming          an interest in the  targeted property have ten days  within which          to file a claim and twenty days thereafter within which to file a          sworn  answer,  together  with  "answers  to  any interrogatories                                          9          served  with the  complaint."    Adm.  R.  C(6).    However,  the          Admiralty Rules are completely bereft of guidance concerning what          measures may be appropriate when parties fail to serve answers to          interrogatories in a full and timely fashion.  This deficiency is          part of a larger  pattern; read in their entirety,  the Admiralty          Rules make no provision whatever for discovery sanctions.                    In  light  of  the  Admiralty Rules'  opacity  on  this          subject, Adm. R. A directs our  attention to the Civil Rules and,          in particular, to Fed. R. Civ. P. 37.4  The  government seemingly          concedes  that  Civil  Rule  37  requires  that  a  court   order          specifically  compelling answers  to interrogatories  be entered,          and  then transgressed,  before  dismissal can  ensue.   The rule          does,  indeed, operate in that manner.5   See R.W. Int'l Corp. v.                                                    ___ ________________                                        ____________________               4Fed.  R. Civ.  P.  37  is  entitled  "Failure  to  Make  or          Cooperate in  Discovery:  Sanctions."   It is  the rule to  which          federal   courts  must   resort   in  addressing   a   litigant's          noncompliance with Fed. R.  Civ. P. 33 (entitled "Interrogatories          to Parties").               5Of  particular  pertinence  here is  the  rule's admonition          that:                    If a  party . . .  fails to obey an  order to                    provide  or  permit  discovery, including  an                    order made under subdivision (a) of this rule                    .  .  .  the court  in  which  the action  is                    pending may make such orders in regard to the                    failure as  are  just, and  among others  the                    following:                         . . . .                         (C) An  order striking out  pleadings or                    parts thereof, or staying further proceedings                    until the order is obeyed, or  dismissing the                    action or proceeding or  any part thereof, or                    rendering  a judgment by  default against the                    disobedient party . . . .                                          10          Welch  Foods, Inc., 937 F.2d  11, 15 (1st  Cir. 1991) (collecting          __________________          cases).                    The  next  question  is  whether,   as  the  government          asserts, the quoted portion  of Civil Rule 37 is  antagonistic to          some  provision   of  the   Admiralty  Rules.     The  government          hypothesizes such a clash between Civil Rule 37 and  Adm. R. C(6)          by reading the  latter rule  as allowing dismissal  in the  first          instance  if  interrogatories  are  served  thereunder  and  then          ignored.   But, the government  offers no case  law supportive of          this curious  interpretation.   It relies entirely  on forfeiture          cases  in which  courts have  from time  to time  struck untimely                                                                   ________          claims to targeted  property.   See, e.g., United  States v.  One          ______                          ___  ____  ______________     ___          Dairy Farm,  918 F.2d 310, 311  (1st Cir. 1990).   Such cases are          __________          inapposite.  For one  thing, the Civil Rules, like  the Admiralty          Rules, have  uniformly been  interpreted as empowering  courts to          strike  late-filed  pleadings.    See,  e.g.,  Fantasy,  Inc.  v.                                            ___   ____   ______________          Fogerty,  664 F. Supp. 1345, 1347-48  (N.D. Cal. 1987).  The same          _______          does not hold true  for delayed discovery.  The  Admiralty Rules,          as we  have said, are silent  on this topic, and  the Civil Rules          contain specific  provisions for a  progression of remedies  if a          court    encounters   footdragging    in    the   answering    of          interrogatories.   For  another  thing, the  reason for  strictly          enforcing timeliness  requirements anent the filing  of claims is          "to force claimants  to come  forward as soon  as possible  after          forfeiture proceedings have begun."  116 Emerson St., 942 F.2d at                                               _______________                                        ____________________          Fed. R. Civ. P. 37(b)(2).                                          11          77 (quoting  1 Street  A-1,  885 F.2d  at 1001).    Once all  the                       _____________          parties are  before the  court, different  considerations obtain.          At  that juncture, the measured procedure crafted by Fed. R. Civ.          P. 37, which balances  the interest in full and  prompt discovery          against the presumption that disputes  should be resolved on  the          merits, seems a far more suitable instrument.                    To sum  up, the  Admiralty Rules provide  for discovery          via interrogatories   but  they provide no internalized mechanism          for handling  a party's  failure to answer  interrogatories fully          and/or punctually.   Given  the imperative of  Adm. R. A  and the          great similarity in  language between  Adm. R. C(6)  and Fed.  R.          Civ.  P. 33,6 it seems natural  to look to Civil  Rule 37 to fill          the hole in the Admiralty Rules' interrogatory provisions.  Civil          Rule  37 provides what  the Admiralty Rules do  not:  a mechanism          for addressing failures to cooperate in discovery.  Discerning no          hint  of  inconsistency,  we  hold  that  the  use  of  discovery          sanctions  in  forfeiture actions  is  properly  governed by  the          pertinent  provisions of  the Federal  Rules of  Civil Procedure.          Accordingly, the imposition of sanctions for a claimant's failure          or refusal to answer interrogatories in a forfeiture case must be          judged under the jurisprudence of Civil Rule 37.                                          C.                                          C.                                          __                     The Propriety of the District Court's Order                     The Propriety of the District Court's Order                     ___________________________________________                    We turn  last to the  question of whether  the district                                        ____________________               6Except for the fact that Adm. R. C(6) allows the government          first  crack  at  propounding  interrogatories,  it  tracks   the          prescriptive language of Fed. R. Civ. P. 33.                                          12          court's  order  in  this  case  was  within  the  bounds  of  its          discretion.   In this regard,  the government hangs  the case for          affirmance on two hooks.  First, the government tells us that the          order  met the  requirements of Fed.  R. Civ.  P. 37.   Next, the          government argues in the alternative that the  district court had          inherent  power  to order  a dismissal  here.   We  address these          points in order.                    1.  The Rule 37 Framework.  Civil Rule 37 erects a two-                    1.  The Rule 37 Framework.                        _____________________          tiered framework for addressing a litigant's failure to cooperate          in discovery.  First,  the party propounding interrogatories must          seek  a  court order  compelling discovery.   It  is only  if the          offending party refuses  to comply  with such an  order that  the          court may choose a  sanction as stern as dismissing the action or          striking the offender's pleadings.  See Fed. R. Civ. P. 37(b)(2),                                              ___          (d).  Thus,  Civil Rule 37 does not permit  the district court to          jump  directly  to the  most dire  sanctions without  essaying an          intermediate  first step.   To the contrary,  Rule 37's "language          clearly requires  two things as conditions  precedent to engaging          the gears of  the rule's sanction machinery:  a  court order must          be  in effect, and then  must be violated,  before the enumerated          sanctions   can  be  imposed."    R.W.  Int'l,  937  F.2d  at  15                                            ___________          (collecting cases).7 This  case  aptly illustrates  the  value of          the two-stage process:   a motion to compel  would have given the                                        ____________________               7We  think this  holding is  altogether consistent  with the          Ninth Circuit's position in  $149,345 U.S. Currency, 747  F.2d at                                       ______________________          1280    although there, a  fresh order to  compel was unnecessary          because  of the res judicata effect of an order to compel entered          in an earlier case.  See id.                               ___ ___                                          13          court an  opportunity to  address Tenaglia's Fifth  Amendment and          relevancy  concerns, to  enter an  order fixing  a firm  date for          compliance,  and,  if necessary,  to  punish  Tenaglia's dilatory          conduct by awarding counsel fees and costs.  See Fed.  R. Civ. P.                                                       ___          37(a)(4).  If Tenaglia  then persisted in giving a  cold shoulder          to  the compliance  date,  the court  would be  in a  position to          exercise its discretion in  choosing an appropriate sanction from          those provided in Rule 37(b), including dismissal.                      Here,  neither of  the  precedent  conditions was  met.          Instead,  the  government  tried  a shortcut,  moving  to  strike          Tenaglia's  claim for failure to comply with Adm. R. C(6) without          first  seeking to  compel  responses to  the interrogatories  and          without  making the slightest effort  to observe Fed.  R. Civ. P.          37's procedural  strictures.   Seven months after  the government          filed  its motion,  the district  court adopted  the government's          reasoning in  large part, concluding that  Tenaglia "lack[ed] the          standing to  contest  the forfeiture  at  issue" because  he  had          failed to answer the interrogatories.   Based on that conclusion,          the  court struck  the claim without  first entering  a discovery          order  and  subsequently  witnessing   its  breach,  as  Rule  37          requires.   In failing to  account for this  factor, the district          court overstepped its discretion  when it struck Tenaglia's claim          in the first instance.8  See Aggarwal v. Ponce Sch. of  Medicine,                                   ___ ________    _______________________                                        ____________________               8In point of  fact, because  the government  never moved  to          compel Tenaglia's  compliance, the court had  no discretion under                                                        __          Rule  37 to  strike  Tenaglia's claim  for  failure to  make  due          discovery.                                          14          745 F.2d  723, 727  (1st Cir. 1984)  ("The cask  which encases  a          judge's discretion, though commodious, can  be shattered when . .          . the trial court misconceived or misapplied the law . . . .").                      2.    Inherent  Powers.   In  an  effort  to dodge  the                    2.    Inherent  Powers.                          ________________          operation  of Civil Rule 37,  the government argues  that, in any          event,  no reference to the  Civil Rules is  exigible because the          courts  can  use  inherent  powers  to  deal  appropriately  with          procedural problems on a case-by-case basis.  Although it is true          that  a district court possesses the inherent power to dismiss an          action where there has  been an egregious abuse of  process, see,                                                                       ___          e.g., Aoude v. Mobil Oil Corp., 892  F.2d 1115, 1118-19 (1st Cir.          ____  _____    _______________          1989)  (holding that the district court possessed  inherent power          to dismiss  the complaint after discovery  of plaintiff's ongoing          fraud  on the court);  cf. Chambers  v. NASCO,  Inc., 111  S. Ct.                                 ___ ________     ____________          2123, 2133  (1991) ("outright dismissal of  a lawsuit . .  . is a          particularly  severe   sanction,  yet   is  within   the  court's          discretion")  (citation omitted), we see no evidence here of such          straitened circumstances.                      Furthermore,  there are  limits  to a  court's inherent          powers, particularly  in instances where  the Civil Rules  are on          all fours.   When,  as in  this case, the  Civil Rules  limit the          nature  of the sanction that can be  imposed, a court may not use          its inherent powers to circumvent the Rules' specific provisions.          See  Bank of  Nova Scotia  v. United  States, 487  U.S.  250, 254          ___  ____________________     ______________          (1988)  (holding that a court cannot rely on supervisory power to          avoid  the clear mandate of a procedural rule); cf. Chambers, 111                                                          ___ ________                                          15          S. Ct. at 2136 (allowing use of inherent powers where Civil Rules          did not limit the nature of the sanction which could be imposed).          Consequently,  even  where  district  courts have  invoked  their          inherent powers to dismiss an action, the dismissal has typically          followed  the violation of a preexisting court order.  See, e.g.,                                                                 ___  ____          Figueroa Ruiz, 896 F.2d at 648.          _____________                    We  note, moreover,  that  the  court  below  expressly          relied on Adm. R. C(6)  and did not purport  to invoke   or  even          mention   its inherent powers.  Under these circumstances, we are          disinclined to rummage through the record searching for a  likely          unusable  needle in a haystack never explored by the trial court.          Doing so would be injudicious and, to our way of thinking,  would          needlessly threaten the delicate balance struck by Civil Rule 37.          See Bank  of Nova Scotia, 487 U.S. at 255 ("The balance struck by          ___ ____________________          the Rule . .  .  may not casually be overlooked  'because a court          has  elected  to  analyze  the  question  under  the  supervisory          power.'") (quoting  United States  v. Payner, 447  U.S. 727,  736                              _____________     ______          (1980)); see also R.W. Int'l, 937 F.2d at 20 (refusing "to debate                   ________ __________          the entirely  hypothetical question  of whether the  action might          lawfully  have been  dismissed  in the  exercise  of the  court's          inherent powers").                                          IV.                                         IV.                                         ___                                      Conclusion                                      Conclusion                                      __________                    We need  go no further.9   Because the  Admiralty Rules                                        ____________________               9Tenaglia  requests that  we  direct the  district court  to          issue a  protective order  enabling him simultaneously  to answer          the  interrogatories and protect his  Fifth Amendment rights.  We                                          16          contain no  inconsistent provisions,  Civil Rule 37  provides the          appropriate mechanism  to which parties who  find their discovery          stalled in  forfeiture  cases  must  resort.   And,  because  the          district court failed to abide by the analytic strictures of Fed.          R. Civ. P. 37 when exercising  its discretion here, its order and          judgment cannot stand.                    The order  striking appellant's claim is  reversed, the                    The order  striking appellant's claim is  reversed, the                    _______________________________________________________          judgment  below is vacated, the claim is reinstated, and the case          judgment  below is vacated, the claim is reinstated, and the case          _________________________________________________________________          is  remanded to the district  court for further  proceedings.  No          is  remanded to the district  court for further  proceedings.  No          _________________________________________________________________          costs.          costs.          ______                                        ____________________          believe that this  is a matter to be considered  ab initio in the                                                           __ ______          trial  court  and Tenaglia  is, of  course, free  to raise  it on          remand.                                          17

